     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 1 of 17


 1

 2

 3

 4

 5

 6

 7                                    UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10    Z.F., a minor, by and through his parents      No. 2:10-cv-00523-TLN-CKD
      M.A.F. and J.F. and M.A.F. and J.F.
11    individually; L.H., and J.H., minors, by and
      through their parents J.A. and J.R.H. and
12    J.A. and J.R.H. individually; A.N., a minor,   ORDER GRANTING IN PART AND
      by and through his parents G.N. and M.R.,      DENYING IN PART PLAINTIFFS’
13    and G.N. and M.R. individually,                MOTION FOR AWARD OF ATTORNEYS’
                                                     FEES PURSUANT TO A RULE 68 OFFER
14                      Plaintiffs,                  OF JUDGMENT OF MINORS’ CLAIMS
                                                     AGAINST MODESTO CITY SCHOOLS
15           v.
16    RIPON UNIFIED SCHOOL DISTRICT
      (RUSD); RIPON UNIFIED SCHOOL
17    DISTRICT BOARD OF TRUSTEES; SAN
      JOAQUIN COUNTY OFFICE OF
18    EDUCATION; VALLEY MOUNTAIN
      REGIONAL CENTER (VMRC),
19    MODESTO CITY SCHOOLS,
      MODESTO CITY SCHOOLS BOARD OF
20    EDUCATION, RICHARD JACOBS,
      Executive Director of VMRC, in his
21    official and individual capacity, TARA
      SISEMORE-HESTER, Coordinator for
22    Autism Services for VMRC, in her official
      and individual capacity; VIRGINIA
23    JOHNSON, Director of Modesto City
      Schools SELPA, in her official and
24    individual capacity; SUE
      SWARTZLANDER, Program Director for
25    Modesto City Schools, in her official and
      individual capacity and Does 1 – 200,
26
                        Defendants.
27

28
                                                     1
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 2 of 17


 1
      VALLEY MOUNTAIN REGIONAL
 2    CENTER, RICHARD JACOBS and TARA
      SISEMORE-HESTER,
 3
                          Counterclaimants,
 4
              v.
 5
      M.A.F. and J.A., SPECIAL NEEDS
 6    ADVOCATES FOR UNDERSTANDING,
      and AUTISM REFORM CALIFORNIA,
 7
                           Counterdefendants.
 8

 9            This matter is before the Court pursuant to Plaintiffs J.H., L.H., and their parents J.A.,

10    J.R.H.’s (collectively “Plaintiffs”) Motion for Attorneys’ Fees (ECF No. 283.) Defendant

11    Modesto City Schools (“MCS”) opposes Plaintiffs’ motion. (ECF No. 288.) The Court has

12    carefully considered the arguments raised by both parties. For the reasons set forth below,

13    Plaintiffs’ Motion for Attorneys’ Fees (ECF No. 283) is GRANTED IN PART and DENIED IN

14    PART.

15            I.     BACKGROUND AND PROCEDURAL HISTORY

16            Plaintiffs are one of three families suing four defendant agencies for disability services.

17    On May 28, 2014, MCS served a Rule 68 Offer of Judgment on Plaintiffs, offering to pay

18    Plaintiffs J.H. and L.H. $50,001 each along with costs and reasonable attorneys’ fees. (Notice of

19    Rule 68 Offer Acceptance, ECF No. 239-1 at 2.) On June 4, 2014, Plaintiffs accepted Defendant

20    MCS’s Rule 68 offer. (ECF No. 239-1 at 2.) Plaintiffs and MCS, however, were unable to reach

21    an agreement on the amount of costs and reasonable attorneys’ fees payable by MCS. (Pltfs.’

22    Motion for Fees, ECF No. 283 at 3.) Plaintiffs bring this motion for attorneys’ fees against MCS,

23    but maintain their surviving claims against the other Defendants.

24            II.    LEGAL STANDARD

25            In the Ninth Circuit, the starting point for determining reasonable attorneys’ fees is the

26    calculation of the “lodestar,” which is obtained by multiplying the number of hours reasonably

27    expended on litigation by a reasonable hourly rate. See Jordan v. Multnomah County, 815 F.2d

28    1258, 1262 (9th Cir. 1987) (citing Hensley v. Eckerhart, 461 U.S. 424 (1983)). In determining a
                                                        2
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 3 of 17


 1    reasonable number of hours, the court must review detailed time records to determine whether the

 2    hours claimed by the applicant are adequately documented and whether any of the hours were

 3    unnecessary, duplicative or excessive. Chalmers v. City of Los Angeles, 796 F.2d 1205, 1210 (9th

 4    Cir. 1986), reh’g denied, amended on other grounds, 808 F.2d 1373 (9th Cir. 1987). To

 5    determine a reasonable rate for each attorney, the court must look to the rate prevailing in the

 6    community for similar work performed by attorneys of comparable skill, experience, and

 7    reputation. Id. at 1210–11.

 8           “The fee applicant has the burden of producing satisfactory evidence, in addition to the

 9    affidavits of its counsel, that the requested rates are in line with those prevailing in the community

10    for similar services of lawyers of reasonably comparable skill and reputation.” Jordan, 814 F.2d

11    at 1263. “Affidavits of the plaintiff’s attorney and other attorneys regarding prevailing fees in the

12    community, and rate determinations in other cases, particularly those setting a rate for the

13    plaintiff’s attorney, are satisfactory evidence of the prevailing market rate.” United Steelworkers

14    of America v. Phelps Dodge Corp., 896 F.2d 403, 407 (9th Cir. 1990).

15           In calculating the lodestar, the court should consider any relevant factors listed in Kerr v.

16    Screen Extras Guild, Inc., 526 F.2d 67 (9th Cir. 1975), cert. denied 425 U.S. 951 (1976). Jordan,

17    815 F.2d at 1264 n.11 (noting that the Ninth Circuit no longer requires that the district court

18    address every factor listed in Kerr). In Kerr, the Ninth Circuit adopted the 12–factor test

19    articulated in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974). The court

20    in Kerr looked to the following factors for determining reasonable attorneys’ fees: (1) the time
21    and labor required; (2) the novelty and difficulty of the questions involved; (3) the skilled

22    requisite to perform the legal service properly; (4) the preclusion of other employment by the

23    attorney due to acceptance of the case; (5) the customary fee; (6) whether the fee is fixed or

24    contingent; (7) time limitations imposed by the client or the circumstances; (8) the amount

25    involved and the results obtained; (9) the experience, reputation, and ability of the attorneys; (10)

26    the ‘undesirability’ of the case; (11) the nature and length of the professional relationship with the
27    client; and (12) awards in similar cases. Kerr, 526 F.2d at 70.

28           To the extent that the Kerr factors are not addressed in the calculation of the lodestar, they
                                                        3
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 4 of 17


 1    may be considered in determining whether the fee award should be adjusted upward or

 2    downward, once the lodestar has been calculated. Chalmers, 796 F.2d at 1212. However, there is

 3    a strong presumption that the lodestar figure represents a reasonable fee award. Jordan, 815 F.2d

 4    at 1262. An upward adjustment of the lodestar is appropriate only in extraordinary cases, such as

 5    when an attorney faced exceptional risks of not prevailing or not recovering any fees. Chalmers,

 6    796 F.2d at 1212. A reduced fee award is appropriate where a plaintiff achieves only partial or

 7    limited success. Hensley, 461 U.S. at 436. To be compensable, an attorney’s time must be

 8    “reasonable in relation to the success achieved.” Id. When accounting for limited success, a

 9    court may eliminate specific hours in calculating the lodestar or simply reduce the award. Id.

10            III.     ANALYSIS

11            Plaintiffs argue that MCS’s Rule 68 offer of judgment in the amount of $100,002 renders

12    them prevailing parties. (ECF No. 283 at 5.) Plaintiffs submitted an initial lodestar calculation of

13    $139,194, and agreed to a reduction of $24,360 to account for the Loughrey firm’s work related

14    to the counterclaim filed by Valley Mountain Regional Center (“VMRC”). (ECF No. 283 at 9.)

15    Plaintiffs contend they are entitled to a positive lodestar multiplier due to the substantial success

16    and amount achieved by the Rule 68 offer of judgment, but do not ask the Court to apply a

17    positive lodestar multiplier. (ECF No. 283 at 9.) Thus, Plaintiffs’ motion seeks $114,834 in

18    attorneys’ fees and $7,155 in additional attorneys’ fees to bring this motion, for a total of

19    $121,989. (ECF No. 283 at 10.)

20            MCS does not dispute Plaintiffs are entitled to reasonable attorneys’ fees, and agrees to
21    the use of the lodestar approach. (ECF No. 288 at 5.) MCS vigorously objects to the reasonable

22    number of hours included in the lodestar. (ECF No. 288 at 5.) First, MCS argues that the

23    lodestar should be reduced to only include hours expended advancing the claims of Plaintiffs L.H.

24    and J.H. against MCS. (ECF No. 288 at 9.) MCS explains that equitable considerations and

25    factors like relative culpability and time spent litigating against each defendant, support a 75%

26    reduction of the hours.1 (ECF No. 288 at 10–11.) Second, MCS objects to the inclusion of non-
27
      1
               Because there are four Defendants in this action, 75% represents the proportional percentage of defendants
28    other than MCS.
                                                               4
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 5 of 17


 1    attorney and non-paralegal staff time in the lodestar. (ECF No. 288 at 12.) Third, MCS seeks

 2    exclusion of Counsels’ time spent on an unsuccessful class certification motion and defense of

 3    VMRC’s counterclaim. (ECF No. 288 at 14–20.) Finally, MCS requests further reduction due to

 4    the “ongoing nature of the litigation” and Plaintiffs’ “potential double recovery” should they

 5    prevail against the remaining Defendants in this action. (ECF No. 288 at 20–21.) In sum, MCS

 6    argues the correct lodestar amount is $29,350, and that a negative lodestar multiplier of 40%

 7    should be applied to recognize Plaintiffs’ time spent on the unsuccessful class certification and

 8    VMRC counterclaim. (ECF No. 288 at 21.) MCS argues that the final reasonable attorneys’ fee

 9    award should be $17,610. (ECF No. 288 at 21.)

10           A.      Calculation of the Lodestar Amount

11                   i.      Reasonable Hourly Rate

12    The Leigh Law Group requested the following hourly rates (ECF No. 283 at 7–8):

13                                     Jay T. Jambeck, partner               $450
14                                    Mandy G. Leigh, partner                $450
15                                    Sarah Fairchild, associate             $350
16                            Mary Ann Kowalchek-Watt, office staff          $100
17    The Law Offices of Tamara Loughrey requested the following hourly rates (ECF No. 283 at 8):
18                                     Tamara Loughrey, partner       $450
19                                      Justin Arnold, associate      $350
20                                     Sante Dewberry, paralegal       $90
21           MCS does not object to the hourly rates attributed to the partners and associates. (See
22    generally ECF No. 288.) MCS only objects to the inclusion of Ms. Kowalchek-Watt and Ms.
23    Dewberry. (ECF No. 288 at 12.) Because the Court will exclude Ms. Kowalchek-Watt’s hours
24    below, the Court will not address her rate.
25           Plaintiffs have provided the Court with substantial evidence establishing the
26    reasonableness of their requested hourly rates in this district. Prevailing hourly rates in the
27    Eastern District of California are in the $350-$550/hour range for experienced attorneys with over
28
                                                        5
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 6 of 17


 1    15 years of experience in civil rights and class action litigation. See Bond v. Ferguson Enters.,

 2    No. 1:09-CV-1662-OWW, 2011 WL 2648879, at *12 (E.D. Cal. June 29, 2011); see also Franco

 3    v. Ruiz Food Products, Inc., No. 1:10-CV-2354-SKO, 2012 WL 5941801, at *20 (E.D. Cal. Nov.

 4    27, 2012); Gong-Chun v. Aetna Inc., No. 1:09-CV-1995-SKO, 2012 2872788, at *21 (E.D. Cal.

 5    July 12, 2012). Plaintiffs also submitted declarations of other practitioners with federal special

 6    education litigation experience charging similar rates. (Whiteleather Decl., ECF No. 284 at 5.)

 7    In accordance with Chalmers, the Court has carefully reviewed Plaintiffs’ evidence of prevailing

 8    community rates for Eastern District practitioners and finds the rates of $450 for partners and

 9    $350 for associates reasonable. (ECF No. 283 at 6–9; Request for Judicial Notice, ECF No. 287.)

10    Chalmers, 796 F.2d at 1210.

11           Plaintiffs claim that Sante Dewberry’s paralegal rate is $90. (ECF No. 283 at 8.)

12    Although not raised in MCS’s opposition, “[a]ccording to the court’s own research, ‘the paralegal

13    rate favored in this district is $75 per hour.’ ” Clark v. Colvin, No. 2:14-CV-0851-DB, 2016 WL

14    4179803, at *4 (E.D. Cal. Aug. 8, 2016); Pehle v. Dufour, No. 2:06-CV-1889-EFB, 2014 WL

15    546115, at *7 (E.D. Cal. Feb. 11, 2014) (quoting Friedman v. Calif. State Employees Assoc., No.

16    CIV. 2:00-101-WBS-DAD, 2010 WL 2880148, at *4 (E.D. Cal. July 21, 2010)); see also Kalani

17    v. Statewide Petroleum, Inc., No. 2:13-CV-2287-KJM-AC, 2014 WL 4230920, at *6 (E.D. Cal.

18    Aug. 25, 2014) (“courts in Sacramento have repeatedly determined in recent years that the

19    prevailing hourly paralegal rate is $75”). Plaintiffs will be awarded compensation for paralegal

20    time at a rate of $75 per hour. Therefore, the rates this Court will adopt are as follows:
21                                      Jay T. Jambeck, partner      $450
22                                     Mandy G. Leigh, partner       $450
23                                     Sarah Fairchild, associate    $350
24                                    Tamara Loughrey, partner       $450
25                                      Justin Arnold, associate     $350
26                                    Sante Dewberry, paralegal       $75
27    //
28
                                                        6
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 7 of 17


 1                     ii.      Hours Reasonably Expended

 2    The Leigh Law Group requested the following hours (ECF No. 283 at 7–8):

 3                                      Jay T. Jambeck, partner                     185 hours
 4                                      Mandy G. Leigh, partner                     8.2 hours
 5                                      Sara Fairchild, associate                    7 hours
 6                             Mary Ann Kowalchek-Watt, office staff               20.3 hours
 7
      The Law Offices of Tamara Loughrey requested the following hours (ECF No. 283 at 8):
 8
                                       Tamara Loughrey, partner             9.2 hours
 9
                                        Justin Arnold, associate            68.2 hours
10
                                             Sante Dewberry               219.42 hours
11
                                a.       Insufficient documentation or excessive billing
12
              Reduction of hours reported is warranted where counsel has provided inadequate
13
      documentation. Cunningham, 879 F.2d at 484; see also Chalmers, 796 F.2d at 1219 (“[C]ounsel
14
      bears the burden of submitting detailed time records justifying the hours claimed to have been
15
      expended.”). Although “[t]he cases do not indicate that every minute of an attorney’s time must
16
      be documented; they do, however, require that there be adequate description of how the time was
17
      spent, whether it be on research or some other aspect of the litigation …” Pac. W. Cable Co. v.
18
      City of Sacramento, 693 F. Supp. 865, 870 (E.D. Cal 1988). Counsel should, at the very least,
19
      “identify the general subject matter” of her time expenditures. Hensley, 461 U.S. at 437 n.12.
20
              Although MCS does not object to the documentation provided, the Court is required to
21
      review Plaintiffs’ billing records for insufficient documentation or excessive charges. After
22
      careful review, the Court finds that Plaintiffs’ records adequately reflected the work product’s
23
      general subject matter and noted how the time was spent with descriptors like “attended
24
      Plaintiffs’ deposition” and “responded to Ripon motion to dismiss.” Accordingly, the Court finds
25
      that Plaintiffs’ documentation is sufficient and the hours are not excessive.
26
      //
27
      2
              Plaintiffs’ calculated Sante Dewberry’s hours at 219.6 because they failed to deduct the .2 hours not charged
28    on page 4 of ECF No. 286-3. The correct number of hours for Ms. Dewberry is 219.4 hours.
                                                               7
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 8 of 17


 1                           b.      Attorney Hours Requested

 2                                   i.     Apportionment

 3           MCS argues that the number of hours Plaintiff claims is unreasonable because they

 4    include work done against the other Defendants in this action. (ECF No. 288 at 11.) MCS would

 5    like the lodestar to “only include the hours expended advancing the claims of Plaintiffs L.H and

 6    J.H against Defendant MCS.” (ECF No. 288 at 10.) Specifically, MCS requests at least a 75%

 7    reduction of the lodestar hours. (ECF No. 288 at 11.) Plaintiffs counter that the claims against

 8    MCS are “related to and intertwined with” the claims against the other defendants. (Reply, ECF

 9    No. 289 at 5.) Plaintiffs point out that they have pursued all defendants equally due to the

10    “overlapping and supportive nature” of the allegations. (ECF No. 289 at 7.)

11           Attorneys’ fees are not awarded to punish defendants, but instead “encourage meritorious

12    civil rights actions” by ensuring reasonable compensation for victorious plaintiff’s attorneys.

13    Corder v. Gates, 947 F.2d 374, 383 (9th Cir. 1991) (citing Blanchard, 489 U.S. at 96; Hensley,

14    461 U.S. at 429). “Under both federal and California law, liability among defendants for a

15    successful plaintiff’s attorney fees is generally joint and several.” Blackwell v. Foley, 724 F.

16    Supp. 2d 1068, 1075 (N.D. Cal. 2010) (citing Turner v. District of Columbia Bd. of Elections &

17    Ethics, 354 F.3d 890 (D.C. Cir. 2004); California Trout, Inc. v. Super. Ct., 218 Cal. App. 3d 187,

18    212 (1990); Corder, 947 F.2d at 383). It has also been held proper for a court to award attorneys’

19    fees against one defendant for time spent litigating against another. Blackwell, 724 F. Supp. 2d at

20    1075 (citing Californians for Responsible Toxics Mgmt. v. Kizer, 211 Cal. App. 3d 961, 976
21    (1989)). Apportionment is proper where a plaintiff has spent a disproportional amount of time

22    pursuing a certain defendant or defendants. Agster v. Maricopa Cty., 486 F. Supp. 2d 1005, 1022

23    (D. Ariz. 2007) (citing Corder, 947 F.2d at 383). If claims are not attributable to all defendants

24    and are not “centered on a set of common issues,” i.e., claims that are “truly fractionable,” then

25    fees should be apportioned. Jones v. Espy, 10 F.3d 690, 691 (9th Cir. 1993).

26           The Court finds that application of joint and several fee liability is proper here. Plaintiffs
27    have not disproportionately pursued the other Defendants over MCS in this matter. The

28    individual Defendants, VMRC, MCS, and Ripon Unified School District (“Ripon”) have all filed
                                                        8
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 9 of 17


 1    separate motions to dismiss against Plaintiffs. (ECF Nos. 24, 36, 42, 119, 121.) Ripon, MCS,

 2    VMRC, and the individual Defendants similarly opposed Plaintiffs’ class certification motion.

 3    (ECF Nos. 171, 173, 174, 177.) The concurrent motions and oppositions demonstrate the

 4    overlapping nature of these claims attributable to all Defendants. Additionally, the claims are all

 5    “centered on a set of common issues,” namely unreasonable barriers to Plaintiffs’ disability

 6    services collectively created by Defendants. Thus, the claims in this action are not “truly

 7    fractionable.” The Court finds persuasive Plaintiff’s argument that the liability here is hopelessly

 8    overlapping and wrought by MCS’s intertwined actions which led to an indivisible injury. See

 9    also Rudelson v. United States, 602 F.2d 1326, 1332 n.2 (9th Cir. 1979).

10           MCS does not provide convincing case law supporting their apportionment request, and

11    only cites to an Eastern District of Pennsylvania case recognizing that “in cases with roughly

12    equal wrongdoers in which the court does not want to impose joint and several liability for

13    attorney’s fees, the fees can be divided equally among defendants.” (ECF No. 288 at 10.)

14    Halderman v. Pennhurst State School and Hospital, 725 F. Supp. 861, 865 (E.D. Pa. 1989). MCS

15    omitted that the court in Halderman did not want to impose joint and several liability because it

16    would almost certainly result in the plaintiff’s double recovery. Id. (Adoption of their proposed

17    fee allocation method “virtually guarantees that they will receive at least some redundant

18    payments[.]”) That is not the case here, for Plaintiffs have not received any prior payments from

19    other Defendants and will not “almost certainly” result in double recovery. Therefore, the Court

20    concludes that joint and several liability is proper, and denies Defendant’s apportionment request.
21                                  ii.     Class action

22           MCS contends that Plaintiffs’ time spent on a class certification motion should not be

23    compensated, for it “did nothing to further” Plaintiffs’ claims and was ultimately unsuccessful.

24    (ECF No. 288 at 16.) The motion “provided no benefit to J.H or L.H. but rather, sought to

25    provide benefit for unnamed potential plaintiffs.” (ECF No. 288 at 16–17.) Plaintiffs counter

26    that the class certification motion was “merely a procedural option” available, and possessed
27    “common elements between the issues raised in that motion and the merits of the claims against

28    [MCS].” (ECF No. 289 at 9.)
                                                       9
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 10 of 17


 1           The Supreme Court has clearly outlined the test for relatedness in Hensley v. Eckerhart,

 2    461 U.S. 424, 434–35 (1983) (emphasis added):

 3           “Many civil rights cases will present only a single claim. In other cases the
             plaintiff’s claims for relief will involve a common core of facts or will be based on
 4           related legal theories. Much of counsel’s time will be devoted generally to the
             litigation as a whole, making it difficult to divide the hours expended on a claim-
 5           by-claim basis. Such a lawsuit cannot be viewed as a series of discrete claims.
             Instead the district court should focus on the significance of the overall relief
 6           obtained by the plaintiff in relation to the hours reasonably expended on the
             litigation. Where a plaintiff has obtained excellent results, his attorney should
 7           recover a fully compensatory fee. Normally this will encompass all hours
             reasonably expended on the litigation…. In these circumstances the fee award
 8           should not be reduced simply because the plaintiff failed to prevail on every
             contention raised in the lawsuit. (citation omitted). Litigants in good faith may
 9           raise alternative legal grounds for a desired outcome, and the court’s rejection of
             or failure to reach certain grounds is not a sufficient reason for reducing a fee. The
10           result is what matters.”
11
      Both parties agree that the Ninth Circuit has “generously applied Hensley’s test of relatedness.”
12
      (ECF No. 288 at 15; ECF No. 289 at 9.) See Webb v. Sloan, 330 F.3d 1158, 1169 (9th Cir. 2003).
13
      The Ninth Circuit has articulated a two-part test in evaluating claim relatedness: (1) whether the
14
      unsuccessful claims were related to the successful claims, and if related, the court must (2)
15
      evaluate the “significance of the overall relief obtained by the plaintiff in relation to the hours
16
      reasonably expended on the litigation.” Schwarz v. Sec’y of Health & Human Servs., 73 F.3d
17
      895, 901–02 (9th Cir. 1995) (citations omitted). “If the plaintiff obtained ‘excellent results,’ full
18
      compensation may be appropriate, but if only ‘partial or limited success’ was obtained, full
19
      compensation may be excessive. Such decisions are within the district court’s discretion.” Id. at
20
      902.
21
             Applying the first part of the Hensley test, the Court finds that the unsuccessful class
22
      certification motion was related to Plaintiffs’ successful claims. The class certification motion
23
      was based on common issues and facts relating to the litigation as a whole and cannot be properly
24
      viewed as separate. The class certification motion is more properly viewed as “alternative legal
25
      grounds for a desired outcome” brought in good faith, and the Court cannot rely on its ultimate
26
      denial as grounds for attorneys’ fee reduction. Hensley, 461 U.S. at 435.
27
             We thus proceed to Hensley’s second part and focus on the “significance of the overall
28
                                                        10
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 11 of 17


 1    relief obtained” by Plaintiffs in relation to the hours reasonably expended. Plaintiffs support their

 2    contention that the $100,002 Rule 68 offer of judgment was a substantial victory and excellent

 3    result with Doe v. Keala, 361 F. Supp. 2d 1171 (D. Haw. Feb. 11, 2005) (ECF No. 283 at 9.) In

 4    Keala, the plaintiffs received a $3,625 judgment that still garnered a $98,582.34 award in

 5    attorneys’ fees. Id. at 1177, 1191. MCS claims that Plaintiffs mischaracterized Keala, where the

 6    court upheld a 55% reduction in hours (not the total lodestar) due to the plaintiffs’ limited

 7    success. (ECF No. 288 at 11.)

 8           The Court acknowledges that MCS is correct, but this distinction is irrelevant for Keala’s

 9    usefulness here. Plaintiffs were merely using Keala for illustrative purposes: the prevailing civil

10    rights plaintiffs’ obtained a $3,625 judgment against only one defendant and the court found their

11    success limited. Keala, 361 F. Supp. 2d at 1180. Yet the Keala plaintiffs were still awarded

12    $98,582.34 in fees after a 55% reduction. Id. at 1191. Here, Plaintiffs successfully obtained a

13    $100,002 judgment from MCS, an award substantially larger than in Keala. The Court finds that

14    Plaintiffs’ success here is significant and an “excellent result” deserving full compensation.

15    Therefore, the Court does not find a reduction is warranted based on lack of success.

16                                   iii.      Counterclaim

17           It is undisputed that Plaintiffs’ work on the VMRC counterclaim and related motions are

18    to be excluded. (ECF No. 288 at 17.) However, the parties dispute the amount of money that

19    should be attributed to these matters. (ECF No. 289 at 10.) Because the differing dollar amounts

20    provided by Plaintiffs and MCS used the unacceptable $90/hour paralegal rate, the Court cannot
21    rely on either party’s number and conducts its own review with the adopted $75/hour paralegal

22    rate. The Court independently reviewed Plaintiffs’ billing records and identified counterclaim

23    hours appropriate for exclusion. (Jambeck Declaration, ECF No. 286-3 at 3–11). The following

24    table summarizes the counterclaim hours the Court will exclude:

25                                          6/19/2010   Loughrey     0.5
26                                          6/21/2010    Arnold      3.3
27                                          6/21/2010    Arnold      0.5
28
                                                        11
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 12 of 17


 1
                                6/23/2010    Arnold    0.5
 2
                                6/25/2010    Arnold    0.4
 3
                                6/28/2010   Loughrey   0.2
 4
                                6/28/2010   Dewberry   0.1
 5
                                7/13/2010   Loughrey   1.2
 6
                                7/13/2010   Loughrey   1.5
 7
                                7/22/2010    Arnold    0.4
 8
                                7/27/2010    Arnold    0.3
 9
                                7/30/2010    Arnold    3.5
10
                                7/31/2010    Arnold    4.9
11
                                8/2/2010     Arnold    6.3
12
                                8/2/2010    Dewberry   5.8
13
                                8/4/2010     Arnold    0.5
14
                                8/4/2010    Dewberry   6.8
15
                                8/4/2010    Dewberry   6.3
16
                                8/5/2010    Dewberry   6.6
17

18                              8/5/2010    Dewberry   7.9

19                              8/6/2010    Dewberry   5.6

20                              8/10/2010   Dewberry   6.4

21                              8/10/2010   Dewberry   1.3

22                              8/11/2010   Dewberry   3.3

23                              8/11/2010   Dewberry   3.2

24                              8/12/2010   Dewberry   3.8

25                              8/12/2010   Dewberry   5.7

26                              8/13/2010   Dewberry   3.5

27                              8/18/2010   Dewberry   7

28                              8/19/2010   Dewberry   6.7
                                            12
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 13 of 17


 1
                                       8/24/2010     Dewberry      6.8
 2
                                        9/7/2010       Arnold      2.5
 3
                                        9/8/2010     Dewberry      0.1
 4
                                       9/10/2010     Dewberry      2.5
 5
                                       9/29/2010     Dewberry      5.7
 6
                                       9/30/2010     Dewberry      1.4
 7
                                       9/30/2010       Arnold      0.5
 8
                                       10/1/2010     Dewberry      1.6
 9
                                       10/1/2010     Dewberry      2.2
10
                                       10/1/2010     Dewberry      2.9
11
                                       10/4/2010     Dewberry      13.4
12
                                       10/4/2010       Arnold      0.8
13
                                       10/5/2010     Dewberry      14.7
14
                                       10/5/2010       Arnold      12.4
15
                                       10/13/2010    Loughrey      0.1
16
                                       10/15/2010    Dewberry      1.2
17

18                                     10/15/2010    Dewberry      2.1

19                                     10/15/2010    Dewberry      5.7

20                                     10/18/2010    Dewberry      2.3

21                                     10/18/2010    Loughrey      1.4

22                                     11/15/2010    Dewberry      1.8

23                                       Total:      Dewberry 144.4

24                                       Total:       Arnold       36.8

25                                       Total:      Loughrey      4.9

26           For the foregoing reasons, this Court will not apportion the reasonable number of attorney

27    hours spent by Plaintiffs and impose joint and several liability on MCS. Further, this Court will

28    include time spent on the unsuccessful class certification motion and exclude counterclaim work.
                                                      13
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 14 of 17


 1                              c. Non-Attorney Hours Requested

 2            MCS objects to the inclusion of secretarial and paralegal work hours because Plaintiffs

 3    have not established the reasonability of including non-attorney staff fees. (ECF No. 288 at 12.)

 4    Plaintiffs contend that “the work of legal assistants is directly attributable to the litigation” and

 5    provide substantial case law demonstrating inclusion as proper. (ECF No. 289 at 8.)

 6            The phrase “reasonable attorney’s fee” cannot have been meant to compensate only work

 7    performed personally by an attorney, but rather the work product of an attorney. Missouri v.

 8    Jenkins by Agyei, 491 U.S. 274, 285 (1989). The term “attorney’s fees” thus embraces the fees of

 9    paralegals as well as attorneys. Richlin Sec. Service Co. v. Chertoff, 553 U.S. 571, 581 (2008)

10    (citing Jenkins, 491 U.S. at 285). Attorneys and paralegals may not legitimately bill for clerical

11    or secretarial work. Lema v. Comfort Inn Merced, No. 1:10-CV-01131-SMS, 2014 WL 1577042,

12    at *6 (E.D. Cal. 2014) (citing Jenkins, 491 U.S. at 288 n.10). “It is appropriate to distinguish

13    between legal work, in the strict sense, and investigation, clerical work, compilation of facts and

14    statistics and other work which can often be accomplished by nonlawyers[.]” Id.

15            MCS disputes that Ms. Dewberry is a certified paralegal. (ECF No. 288 at 12.) Indeed,

16    Plaintiffs did not submit documentation establishing Ms. Dewberry as a certified paralegal.

17    However, the Court takes judicial notice of Ms. Loughrey’s declaration that Ms. Dewberry is her

18    paralegal.3 (Request for Judicial Notice, Exhibit D – Loughrey Declaration, at 4.) Additionally,

19    Ms. Dewberry’s billing describes paralegal work in nature: Westlaw legal research and review of

20    statutes and case law, review of counterclaims, revision of memorandums, and preparations of
21    various motions. (ECF No. 286-3.) This is work that cannot be done by a secretary and is not

22    clerical in nature. See Davis v. Hollins Law, 25 F. Supp. 3d 1292, 1301 (E.D. Cal June 12, 2014)

23    (preparing courtesy copies of documents and booking flights is administrative or secretarial in

24    3
        Plaintiffs request the Court take judicial notice of Mark E. Merin’s Declaration in Jones v. Cty. of Sacramento,
      Eastern District of California case No. 2:09-cv-1025-DAD, Linda M. Dardarian’s Declaration in Moeller v. Taco Bell
25    Corp., Northern District of California case No. 4:02-cv-05849-PJH, and the Declarations of Bob Varma, Tamara
      Loughrey, and Justin Arnold in J.A.A.H. v. Modesto City Schools, Eastern District of California case No. 1:08-cv-
26    01465-LJO-DLB. (Req. for Judicial Notice, ECF No. 287.) Under Federal Rule of Evidence 201 a court can take
      judicial notice of a document when the subject “can be accurately and readily determined from sources whose
27    accuracy cannot reasonably be questioned.” For the reasons stated in Plaintiffs’ request and noting no opposition by
      Defendant to the request, the Court GRANTS Plaintiffs’ request, and takes judicial notice of the attached exhibits
28    pursuant to Federal Rule of Evidence 201 (ECF No. 287 at 4–67.)
                                                              14
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 15 of 17


 1    nature); see also Rafanan v. Focus Receivables Mgmt., LLC, No. 09-CV-2715-JAM, 2010 WL

 2    2923284, at *2 (E.D. Cal. July 26, 2010) (paralegals cannot be billed for secretarial tasks like

 3    filing proofs of service, serving a complaint, preparing a civil case cover sheet). Thus, the Court

 4    is satisfied that Ms. Dewberry is a paralegal and will include her work hours as such.

 5           The Court exercises its discretion and excludes Ms. Kowalchek-Watt’s secretarial work.

 6    Nowhere is there mention that Ms. Kowalchek-Watt is a paralegal. A review of the submitted

 7    billing records reveals her work product as clerical in nature: table of documents creation, and

 8    email confirmation of client attendance at depositions. (ECF No. 286-1 at 5.) Thus, the Court

 9    will not include Ms. Kowalchek-Watt’s secretarial hours.

10           In conclusion, the Court finds that Plaintiffs’ reasonable number of lodestar hours to be:

11                            Person                 Hours Granted (counterclaims excluded)
12                   Jay T. Jambeck, partner                       185 hours
13                  Mandy G. Leigh, partner                        8.2 hours
14                   Sara Fairchild, associate                      7 hours
15                  Tamara Loughrey, partner                       4.3 hours
16
                     Justin Arnold, associate                      31.4 hours
17
                    Sante Dewberry, paralegal                      75 hours
18
                               Total                              310.9 hours
19
             Accordingly, the Court adopts the following table to calculate the lodestar:
20
                                 Person                 Rate       Hours         Total
21
                         Jay T. Jambeck, partner        $450     185 hours      $83,250
22
                        Mandy G. Leigh, partner         $450     8.2 hours       $3,690
23
                        Sarah Fairchild, associate      $350      7 hours        $2,450
24
                       Tamara Loughrey, partner         $450     4.3 hours       $1,935
25
                         Justin Arnold, associate       $350     31.4 hours     $10,990
26
                       Sante Dewberry, paralegal        $75      75 hours        $5,625
27
                                  Total                         310.9 hours     $107,940
28
                                                        15
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 16 of 17


 1           Thus, after careful review of the billing records, motion briefs, and supporting evidence,

 2    the Court finds that the appropriate reasonable lodestar amount is $107,940.

 3           B. Adjustment of the Lodestar Amount Based on Factors Not Subsumed in the
             Initial Calculation
 4

 5           The Court has considered the equitable considerations outlined in Kerr in its lodestar
 6    calculations and whether further adjustment is needed. In doing so, the Court was mindful of
 7    precedent establishing the “strong presumption that the lodestar figure represents a reasonable
 8    fee.” Jordan, 815 F.2d at 1262. An upward adjustment of the lodestar is appropriate only in
 9    extraordinary cases, such as when an attorney faced exceptional risks of not prevailing or not
10    recovering any fees. Chalmers, 796 F.2d at 1212. A reduced fee award is appropriate where a
11    plaintiff achieves only partial or limited success. Hensley, 461 U.S. at 436. To be compensable,
12    an attorney’s time must be “reasonable in relation to the success achieved.” Id.
13           MCS raises the possibility of Plaintiffs’ future or double recovery if they prevail against
14    the remaining defendants. (ECF No. 288 at 20.) The Court dismisses this as speculative. If
15    Plaintiffs do prevail further, then the Court can consider their recovery today to prevent
16    undeserving windfalls.
17           Finally, the Court considers Plaintiffs’ requested $7,155 in additional motion fees. (ECF
18    No. 289 at 19.) Generally, “time spent in establishing an amount of fees awardable under [42
19    U.S.C.] section 1988 is compensable.” Guerro v. Cummings, 70 F.3d 1111, 1113 (9th Cir. 1995)
20    (Section 1988 provides for prevailing parties in civil rights actions to recover reasonable
21    attorneys’ fees.) Defendant did not respond to Plaintiffs’ request for additional attorneys’ fees.
22    However, Plaintiffs have not provided the Court with any billing or documentation showing how
23    they calculated $7,155 in additional motion fees. Plaintiffs similarly failed to justify why it is
24    reasonable. Plaintiffs noted that they initially anticipated 3.5 hours of motion work, but in fact
25    expended 7 hours with their reply. (ECF No. 289, at 10 n.2.) Because Plaintiffs failed to provide
26    documentation of this time expended or explain how they reached their dollar amount, they have
27    not met their burden of production. Therefore, the Court DENIES Plaintiffs’ requested $7,155 in
28
                                                       16
     Case 2:10-cv-00523-TLN-CKD Document 293 Filed 03/21/17 Page 17 of 17


 1    additional motion fees.

 2           IV.     CONCLUSION

 3           The Court awards Plaintiffs the $107,940 lodestar for reasonable attorneys’ fees.

 4           IT IS SO ORDERED.

 5

 6    Dated: March 20, 2017

 7

 8

 9
                                                      Troy L. Nunley
10                                                    United States District Judge

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                     17
